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                    UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF VIRGINIA
                            Newport News Division



       UNITED STATES OF AMERICA



       v.                                        Criminal No. 4:08cr16



       DAVID ANTHONY RUNYON



                      SUPPLEMENTAL MOTION TO CONTINUE
                         CAPITAL SENTENCING HEARING

             In the event that the defendant David Runyon is convicted of one or
       more offenses punishable by death, he hereby moves, through counsel,
       Lawrence Woodward and Stephen A. Hudgins, for an order continuing the
       sentencing hearing under 18 U.S.C. §§ 3591 et seq. for a period of at least
       90 days in order to permit counsel to provide constitutionally effective
       assistance and to safeguard the defendant’s Eighth Amendment to present
       evidence in mitigation of punishment. See Gray v. Branker, 529 F.3d 220
       (4th Cir. 2008), cert. denied, 129 S.Ct. 1579 (2009) (holding that defendant
       was denied effective assistance of counsel by failure to investigate and
       develop evidence of mental impairment for capital sentencing).
             By motion filed on April 13, 2009, the defendant requested that the
       trial date of June 30, 2009, be continued until October. On May 7, 2009, the
       Court denied the motion insofar as it sought a continuance of the guilt-or-

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       innocence phase, but expressly declined to rule on whether a continuance
       would be justified prior to sentencing in the event of a capital conviction.
       Specifically, the Court ruled:
                   With respect to the penalty portions of this trial, if such
             phases are even needed, the court will consider continuing them
             as appropriate following the guilt/innocence phase . . . . The
             jury, with appropriate cautionary instructions, may be
             reconvened at a later time to conduct any necessary penalty
             phases, if a continuance to complete preparation for those
             phases is deemed necessary.

       Order, May 7, 2009, at 8.

             Before and after entry of the May 7 order, defense counsel has been

       working diligently to prepare for a possible sentencing hearing.1 However,

       it has now become apparent that counsel will simply not be ready to present

       the defendant’s case for life at the conclusion of the guilt or innocence phase

       of his trial unless a substantial continuance is granted. The reasons why this

       is so are set forth in greater detail in the defendant’s Exhibit “A” submitted

       under seal in support of this motion, but may be briefly summarized here:

             First, as the Court is aware a recent specialized mental health

       examination has uncovered evidence tending to suggest the existence of a
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        Without recapitulating the facts contained in the April 13 motion, counsel would recall that
       the member of the defense team with primary responsibility for sentencing phase preparation,
       Jon Babineau, was required to withdraw due to a conflict in February, 2009 and his
       replacement, Stephen Hudgins, entered the case just six months ago. For nearly ** weeks of
       that time, moreover, from April ** to May ***, Mr. Hudgins was engaged in the defense of
       an unrelated federal criminal case, United States v. ******, No. **CR*****, that further
       reduced the time available for him to devote to preparing for the possibility of a sentencing
       hearing in this case.

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       significant mental disorder that bears a potentially strong relationship to the

       defendant’s behavior and moral culpability.        The examiner has advised

       counsel that additional diagnostic studies are necessary.         A motion to

       authorize counsel to retain an expert capable of carrying out these studies

       is pending. A preliminary report of the neuropsychologist is attached hereto

       as Exhibit “B”.

             Second, important medical records remain to be gathered, and

       additional collateral investigation of the defendant’s social and family history

       conducted, in order to either corroborate or rule out the presence of serious

       mental   abnormalities.    Ideally,   this   record-gathering   and   collateral

       investigation would have been largely completed before mental health

       experts were retained by the defense.            However, as related in the

       defendant’s prior motion for continuance filed on April 13, 2009, this has

       proven impossible.

             The defendant will not recapitulate here the constitutional basis of his

       continuance motion, as he has already set it forth in his previous Motion to

       Continue the Trial Date filed on April 13.       Suffice it say that a 90-day

       continuance of the sentencing phase of his trial in order to allow counsel to

       complete the essential unfinished preparation that remains is clearly justified,

       and the equities weigh heavily in favor of granting his request. Even after


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       such a brief delay, the total time that will have elapsed between indictment

       and the jury’s sentencing verdict will have been fairly typical of federal death

       penalty cases.2 Far greater delays, moreover, are commonplace in federal

       capital litigation. For example, the most recent federal death sentence case

       to be affirmed by the Fourth Circuit was decided on appeal nearly four-and-a-

       half years after the trial jury rendered its sentencing verdict on November 2,

       2004. United States v. Basham, 561 F.3d 302 (4th Cir. 2009). Given the

       inevitable vagaries and frequent delays of appellate litigation, it would be

       penny-wise and pound-foolish to save a few weeks or months by requiring

       the sentencing jury to make its momentous decision while laboring under a

       needless blackout of critical information going to the heart of the defendant’s

       culpability and moral desert.

             For all of these reasons, including those that have been submitted

       under seal, counsel for the defendant David Runyon request that the Court

       adjourn this case for a period of not less than 90 days in order to permit

       them to complete the essential factual, mental health and legal preparation

       required to permit a just and reliable determination of whether Mr. Runyon

       should live or die.


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         Counsel are advised by the Federal Death Penalty Resource Counsel Project that as of 2007,
       the average time between federal capital indictment and the beginning of trial was just over
       20 months---slightly longer than the elapsed period in this case.

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                               CERTIFICATE OF SERVICE

             I hereby certify that on the 17th day of July, 2009, I will electronically

       file the foregoing with the Clerk of Court using the CM/ECF system, which will

       then send a notification of such filing (NEF) to the following:

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